Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 1 of 97




                EXHIBIT 1
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 2 of 97NYSCEF: 01/12/2022
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             SUPREME COURT OF THE STATE OF NEW YORK
             COUNTY OF BRONX
             ---------------------------------------------------------------------X
             HULLAMTOU CEESAY,
                                                 Plaintiff,                         Index No:
                      -against-

                                                                                      VERIFIED COMPLAINT


             BRONX PARK PHASE III PRESERVATION LLC,
             BRONX PHASE III HOUSING COMPANY, INC.,
             NYC PARTNERSHIP HOUSING DEVELOPMENT
             FUND COMPANY, INC., LIHC INVESTMENT GROUP,
             LIHC ACQUISITION COMPANY LLC, LP
             SOLUTIONS FUND, LLC, BELVERON
             PARTNERS, BELVERON NY PRESERVATION, LLC,
             CAMBER PROPERTY GROUP, LLC, CAMMEBY’S
             INTERNATIONAL GROUP, CAMMEBY’S CAPITAL
             GROUP, LLC, CAMMEBY’S FUNDING, LLC,
             SF RECTOR STREET, LLC, RICK GROPPER,
             ANDREW MOELIS and RUBIN SCHRON,

                                                 Defendants.
             ---------------------------------------------------------------------X

                     Plaintiff, HULLAMTOU CEESAY, by her attorneys EDELMAN KRASIN &

             JAYE, PLLC, complaining of the defendants, BRONX PARK PHASE III

             PRESERVATION LLC, BRONX PHASE III HOUSING COMPANY, INC., NYC

             PARTNERSHIP HOUSING DEVELOPMENT FUND COMPANY, INC., LIHC

             INVESTMENT GROUP, LIHC ACQUISITION COMPANY LLC, LP SOLUTIONS

             FUND, LLC, BELVERON PARTNERS, BELVERON NY PRESERVATION, LLC,

             CAMBER PROPERTY GROUP, LLC, CAMMEBY’S INTERNATIONAL GROUP,

             CAMMEBY’S CAPITAL GROUP, LLC, CAMMEBY’S FUNDING, LLC, SF RECTOR

             STREET, LLC, RICK GROPPER, ANDREW MOELIS, and RUBIN SCHRON, hereby

             alleges the following under penalties of perjury and upon information and belief:



                                                                 1


                                                            1 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                  INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 3 of 97NYSCEF: 01/12/2022
                                                                     RECEIVED




                    1.      Upon information and belief, at all times hereinafter mentioned, Plaintiff,

             HULLAMTOU CEESAY was and still is a resident of the State of Georgia.

                    2.      Upon information and belief, at all times hereinafter mentioned Defendant,

             BRONX PARK PHASE III PRESERVATION LLC, was and still is a domestic limited

             liability corporation duly organized and existing under and by virtue of the laws of the

             State of New York.

                    3.      Upon information and belief, at all times hereinafter mentioned, Defendant,

             BRONX PARK PHASE III PRESERVATION LLC, transacted business in the State of

             New York.

                    4.      Upon information and belief, at all times hereinafter mentioned Defendant,

             BRONX PHASE III HOUSING COMPANY, INC., was and still is a domestic limited-

             profit housing company duly organized and existing under and by virtue of the laws of the

             State of New York.

                    5.      Upon information and belief, at all times hereinafter mentioned, Defendant

             BRONX PHASE III HOUSING COMPANY, INC., transacted business in the State of

             New York.

                    6.      Upon information and belief, at all times hereinafter mentioned Defendant,

             NYC PARTNERSHIP HOUSING DEVELOPMENT FUND COMPANY, INC., was and

             still is a domestic not-for-profit corporation duly organized and existing under and by virtue

             of the laws of the State of New York.

                    7.      Upon information and belief, at all times hereinafter mentioned, Defendant,

             NYC PARTNERSHIP HOUSING DEVELOPMENT FUND COMPANY, INC.,

             transacted business in the State of New York.



                                                           2


                                                       2 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                             INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 4 of 97NYSCEF: 01/12/2022
                                                                     RECEIVED




                     8.    Upon information and belief, at all times hereinafter mentioned, Defendant,

             LIHC INVESTMENT GROUP, was a domestic business entity, duly organized and

             existing under and by virtue of the laws of the State of New York.

                     9.    Upon information and belief, at all times hereinafter mentioned, Defendant,

             LIHC INVESTMENT GROUP, transacted business in the State of New York.

                     10.   Upon information and belief, at all times hereinafter mentioned Defendant,

             LIHC ACQUISITION COMPANY LLC, was and still is a foreign limited liability

             company duly organized and existing under and by virtue of the laws of the State of New

             York.

                     11.   Upon information and belief, at all times hereinafter mentioned, Defendant,

             LIHC ACQUISITION COMPANY LLC, transacted business in the State of New York.

                     12.   Upon information and belief, at all times hereinafter mentioned Defendant,

             LP SOLUTIONS FUND, LLC, was and still is a foreign limited liability company duly

             organized and existing under and by virtue of the laws of the State of New York.

                     13.   Upon information and belief, at all times hereinafter mentioned, Defendant

             LP SOLUTIONS FUND, LLC, transacted business in the State of New York.

                     14.   Upon information and belief, at all times hereinafter mentioned, Defendant,

             BELVERON PARTNERS, was a domestic business entity, duly organized and existing

             under and by virtue of the laws of the State of New York.

                     15.   Upon information and belief, at all times hereinafter mentioned, Defendant,

             BELVERON PARTNERS, transacted business in the State of New York.

                     16.   Upon information and belief, at all times hereinafter mentioned Defendant,

             BELVERON NY PRESERVATION, LLC, was and still is a foreign limited liability



                                                         3


                                                     3 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                             INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 5 of 97NYSCEF: 01/12/2022
                                                                     RECEIVED




             company duly organized and existing under and by virtue of the laws of the State of New

             York.

                     17.   Upon information and belief, at all times hereinafter mentioned, Defendant,

             BELVERON NY PRESERVATION, LLC, transacted business in the State of New York.

                     18.   Upon information and belief, at all times hereinafter mentioned Defendant,

             CAMBER PROPERTY GROUP, LLC was and still is a domestic limited liability company

             duly organized and existing under and by virtue of the laws of the State of New York.

                     19.   Upon information and belief, at all times hereinafter mentioned, Defendant,

             CAMBER PROPERTY GROUP, LLC, transacted business in the State of New York.

                     20.   Upon information and belief, at all times hereinafter mentioned, Defendant,

             CAMMEBY’S INTERNATIONAL GROUP, was a domestic business entity, duly

             organized and existing under and by virtue of the laws of the State of New York.

                     21.   Upon information and belief, at all times hereinafter mentioned, Defendant,

             CAMMEBY’S INTERNATIONAL GROUP, transacted business in the State of New

             York.

                     22.   Upon information and belief, at all times hereinafter mentioned Defendant,

             CAMMEBY’S CAPITAL GROUP, LLC, was and still is a domestic limited liability

             company duly organized and existing under and by virtue of the laws of the State of New

             York.

                     23.   Upon information and belief, at all times hereinafter mentioned, Defendant,

             CAMMEBY’S CAPITAL GROUP, LLC, transacted business in the State of New York.




                                                        4


                                                     4 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 6 of 97NYSCEF: 01/12/2022
                                                                     RECEIVED




                    24.     Upon information and belief, at all times hereinafter mentioned Defendant,

             CAMMEBY’S FUNDING, LLC, was and still is a domestic limited liability company duly

             organized and existing under and by virtue of the laws of the State of New York.

                    25.     Upon information and belief, at all times hereinafter mentioned, Defendant,

             CAMMEBY’S FUNDING, LLC, transacted business in the State of New York.

                    26.     Upon information and belief, at all times hereinafter mentioned Defendant,

             SF RECTOR STREET, LLC, was and still is a domestic limited liability company duly

             organized and existing under and by virtue of the laws of the State of New York.

                    27.     Upon information and belief, at all times hereinafter mentioned, Defendant,

             SF RECTOR STREET, LLC, transacted business in the State of New York.

                    28.     Upon information and belief, at all times hereinafter mentioned, Defendant,

             RICK GROPPER, was and still is a resident of the State of New York.

                    29.     Upon information and belief, at all times hereinafter mentioned, Defendant,

             ANDREW MOELIS, was and still is a resident of the State of New York.

                    30.     Upon information and belief, at all times hereinafter mentioned, Defendant,

             RUBIN SCHRON, was and still is a resident of the State of New York.

                    31.     This action falls within one or more of the exceptions set forth in Article 16

             of the C.P.L.R.

                      AS AND FOR PLAINTIFF’S FIRST CAUSE OF ACTION AGAINST
                       DEFENDANT BRONX PARK PHASE III PRESERVATION LLC

                    32.     Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “31” inclusive, as fully

             as though they were set forth herein at length.




                                                          5


                                                      5 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                              INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 7 of 97NYSCEF: 01/12/2022
                                                                     RECEIVED




                    33.     That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC, its agents, servants, contractors and/or employees owned the

             premises located at 333 East 181st Street, County of Bronx, State of New York [hereinafter

             “the subject premises”].

                    34.     That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC, its agents, servants, contractors and/or employees maintained the

             subject premises.

                    35.     That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC its agents, servants, contractors and/or employees leased the

             subject premises.

                    36.     That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC, its agents, servants, contractors and/or employees managed the

             subject premises.

                    37.     That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC, its agents, servants, contractors and/or employees inspected the

             subject premises.

                    38.     That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC, its agents, servants, contractors and/or employees repaired the

             subject premises.

                    39.     That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC, its agents, servants, contractors and/or employees supervised the

             subject premises.




                                                         6


                                                     6 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 8 of 97NYSCEF: 01/12/2022
                                                                     RECEIVED




                       40.   That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC INC, its agents, servants, contractors and/or employees designed

             the subject premises.

                       41.   That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC, its agents, servants, contractors and/or employees constructed the

             subject premises.

                       42.   That on and before January 9, 2022, Defendant BRONX PARK PHASE III

             PRESERVATION LLC, its agents, servants, contractors and/or employees controlled the

             subject premises.

                       43.   That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, BRONX PARK PHASE III PRESERVATION LLC, its

             agents, servants, and/or employees to keep and maintain the subject premises in a

             reasonably safe condition.

                       44.   That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                       45.   Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                       46.   That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                       47.   That Defendant, BRONX PARK PHASE III PRESERVATION LLC, their

             agents, employees and/or servants were negligent and careless jointly and/or severally with

             Co-Defendants, their agents, servants and/or employees: in allowing the premises, in its



                                                          7


                                                      7 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 9 of 97NYSCEF: 01/12/2022
                                                                     RECEIVED




             unsafe state, to be maintained/inhabited while in violation of the rules and regulations of

             the State of New York and the City of New York; in failing to properly secure the unsafe

             premises; in failing to properly supervise the premises; in failing to adequately fireproof

             the premises; in failing to make sure adequate fire proofing existed, was installed, and in

             use at the premises; in failing to properly inspect the premises; in refusing requests to repair

             and/or remedy and/or restore and/or retrofit and/or fix and/or fireproof the subject

             premises; in creating a fire hazard; in failing to police and/or inspect the premises; in failing

             to install fire and/or smoke and/or carbon monoxide alarms; in failing to install adequate

             fire and/or smoke and/or carbon monoxide alarms; in failing to install sufficient fire and/or

             smoke and/or carbon monoxide alarms; in failing to install properly functioning fire and/or

             smoke and/or carbon monoxide alarms; in failing to properly place fire and/or smoke

             and/or carbon monoxide alarms; in allowing inadequate and/or defective fire, smoke and

             carbon monoxide alarms; in allowing and permitting an inadequate and defective electrical

             system to be present at the premises; in failing to allow for adequate ingress and egress; in

             approving and/or allowing inadequate and unsafe proposals and applications; in failing to

             secure electricity outlets and/or conduits and/or sources; in failing to secure gas outlets

             and/or conduits and/or sources; in negligently maintaining and/or utilizing and/or

             supplying and/or installing electricity at the aforesaid premises; in creating and/or

             maintaining a structure that could not contain and/or handle and/or accommodate and/or

             properly transfer and/or safely transfer the electricity provided; in negligently maintaining

             and/or utilizing and/or supplying and/or installing gas; in negligently maintaining and/or

             utilizing and/or supplying and/or installing oil; in failing in their duty to keep the oil and/or

             gas burner, furnace, boiler, heating system and areas at the premises in a reasonably safe



                                                            8


                                                        8 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 10 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             condition; in failing in their duty to keep said electric system in a reasonably safe condition;

             in failing to properly inspect; in creating, permitting and/or allowing said oil and/or gas

             burner, boiler, heating system and areas to remain in a darkened, defective, hazardous

             and/or dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn

             of the dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe



                                                            9


                                                        9 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 11 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises



                                                           10


                                                       10 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 12 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                48. That by reason of the negligence and carelessness of Defendant, BRONX PARK

             PHASE III PRESERVATION LLC, Plaintiff HULLAMTOU CEESAY was caused to

             sustain serious and permanent injuries.

                49. That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was damaged

             in a sum that exceeds the jurisdictional limits of all lower courts that would otherwise have

             jurisdiction over this matter.

                     AS AND FOR PLAINTIFF’S SECOND CAUSE OF ACTION AGAINST
                      DEFENDANT BRONX PHASE III HOUSING COMPANY, INC.

                50. Plaintiff repeats, reiterates and re-alleges each and every allegation contained in

             paragraphs of this complaint designated “1” through “49” inclusive, as fully as though they

             were set forth herein at length.

                51. That on and before January 9, 2022, Defendant BRONX PHASE III HOUSING

             COMPANY, INC., its agents, servants, contractors and/or employees owned the premises

             located at 333 East 181st Street, County of Bronx, State of New York [hereinafter “the

             subject premises”].




                                                          11


                                                       11 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                               INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 13 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                52. That on and before January 9, 2022, Defendant BRONX PHASE III HOUSING

             COMPANY, INC., its agents, servants, contractors and/or employees maintained the

             subject premises.

                53. That on and before January 9, 2022, Defendant BRONX PHASE III HOUSING

             COMPANY, INC., its agents, servants, contractors and/or employees leased the subject

             premises.

                54. That on and before January 9, 2022, Defendant BRONX PHASE III HOUSING

             COMPANY, INC., its agents, servants, contractors and/or employees managed the subject

             premises.

                55. That on and before January 9, 2022, BRONX PHASE III HOUSING COMPANY,

             INC., its agents, servants, contractors and/or employees inspected the subject premises.

                56. That on and before January 9, 2022, Defendant BRONX PHASE III HOUSING

             COMPANY, INC., its agents, servants, contractors and/or employees repaired the subject

             premises.

                57. That on and before January 9, 2022, Defendant BRONX PHASE III HOUSING

             COMPANY, INC., its agents, servants, contractors and/or employees supervised the

             subject premises.

                58. That on and before January 9, 2022, Defendant BRONX PHASE III HOUSING

             COMPANY, INC., its agents, servants, contractors and/or employees designed the subject

             premises.

                59. That on and before January 9, 2022, Defendant BRONX PHASE III HOUSING

             COMPANY, INC., its agents, servants, contractors and/or employees constructed the

             subject premises.



                                                         12


                                                     12 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 14 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                60. That on and before January 9, 2022, Defendant BRONX PHASE III HOUSING

             COMPANY, INC., its agents, servants, contractors and/or employees controlled the

             subject premises.

                61. That on and before January 9, 2022, and at all times hereinafter mentioned, it was

             the duty of Defendant, BRONX PHASE III HOUSING COMPANY, INC., its agents,

             servants, and/or employees to keep and maintain the subject premises in a reasonably safe

             condition.

                62. That on January 9, 2022, while Plaintiff was lawfully present at the aforementioned

             subject premises, a major fire ignited and spread rapidly to multiple parts of the subject

             building.

                63. Plaintiff was caused to sustain serious and permanent personal injuries as a result.

                64. That the said occurrence was due solely to the joint and several negligence and

             carelessness of the defendants herein and without the plaintiff contributing thereto.

                65. That Defendant, BRONX PHASE III HOUSING COMPANY, INC., their agents,

             employees and/or servants were negligent and careless jointly and/or severally with Co-

             Defendants, their agents, servants and/or employees: in allowing the premises, in its unsafe

             state, to be maintained/inhabited while in violation of the rules and regulations of the State

             of New York and the City of New York; in failing to properly secure the unsafe premises;

             in failing to properly supervise the premises; in failing to adequately fireproof the premises;

             in failing to make sure adequate fire proofing existed, was installed, and in use at the

             premises; in failing to properly inspect the premises; in refusing requests to repair and/or

             remedy and/or restore and/or retrofit and/or fix and/or fireproof the subject premises; in

             creating a fire hazard; in failing to police and/or inspect the premises; in failing to install



                                                           13


                                                       13 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 15 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             fire and/or smoke and/or carbon monoxide alarms; in failing to install adequate fire and/or

             smoke and/or carbon monoxide alarms; in failing to install sufficient fire and/or smoke

             and/or carbon monoxide alarms; in failing to install properly functioning fire and/or smoke

             and/or carbon monoxide alarms; in failing to properly place fire and/or smoke and/or

             carbon monoxide alarms; in allowing inadequate and/or defective fire, smoke and carbon

             monoxide alarms; in allowing and permitting an inadequate and defective electrical system

             to be present at the premises; in failing to allow for adequate ingress and egress; in

             approving and/or allowing inadequate and unsafe proposals and applications; in failing to

             secure electricity outlets and/or conduits and/or sources; in failing to secure gas outlets

             and/or conduits and/or sources; in negligently maintaining and/or utilizing and/or

             supplying and/or installing electricity at the aforesaid premises; in creating and/or

             maintaining a structure that could not contain and/or handle and/or accommodate and/or

             properly transfer and/or safely transfer the electricity provided; in negligently maintaining

             and/or utilizing and/or supplying and/or installing gas; in negligently maintaining and/or

             utilizing and/or supplying and/or installing oil; in failing in their duty to keep the oil and/or

             gas burner, furnace, boiler, heating system and areas at the premises in a reasonably safe

             condition; in failing in their duty to keep said electric system in a reasonably safe condition;

             in failing to properly inspect; in creating, permitting and/or allowing said oil and/or gas

             burner, boiler, heating system and areas to remain in a darkened, defective, hazardous

             and/or dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn

             of the dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly



                                                            14


                                                        14 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 16 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in



                                                            15


                                                        15 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 17 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.



                                                          16


                                                      16 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 18 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                66. That by reason of the negligence and carelessness of Defendant BRONX PHASE

             III HOUSING COMPANY, INC., Plaintiff HULLAMTOU CEESAY was caused to

             sustain serious and permanent injuries.

                67. That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was damaged

             in a sum that exceeds the jurisdictional limits of all lower courts that would otherwise have

             jurisdiction over this matter.

                    AS AND FOR PLAINTIFF’S THIRD CAUSE OF ACTION AGAINST
                  DEFENDANT NYC PARTNERSHIP HOUSING DEVELOPMENT FUND
                                      COMPANY, INC.

                68. Plaintiff repeats, reiterates and re-alleges each and every allegation contained in

             paragraphs of this complaint designated “1” through “67” inclusive, as fully as though they

             were set forth herein at length.

                69. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees owned the premises located at 333 East 181st Street, County of Bronx, State of

             New York [hereinafter “the subject premises”].

                70. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees maintained the subject premises.

                71. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees leased the subject premises.




                                                          17


                                                       17 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                             INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 19 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                72. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees managed the subject premises.

                73. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees inspected the subject premises.

                74. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees repaired the subject premises.

                75. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees supervised the subject premises.

                76. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees designed the subject premises.

                77. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees constructed the subject premises.

                78. That on and before January 9, 2022, Defendant NYC PARTNERSHIP HOUSING

             DEVELOPMENT FUND COMPANY, INC., its agents, servants, contractors and/or

             employees controlled the subject premises.

                79. That on and before January 9, 2022, and at all times hereinafter mentioned, it was

             the duty of Defendant, NYC PARTNERSHIP HOUSING DEVELOPMENT FUND



                                                          18


                                                    18 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                  INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 20 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             COMPANY, INC., its agents, servants, and/or employees to keep and maintain the subject

             premises in a reasonably safe condition.

                80. That on January 9, 2022, while Plaintiff was lawfully present at the aforementioned

             subject premises, a major fire ignited and spread rapidly to multiple parts of the subject

             building.

                81. Plaintiff was caused to sustain serious and permanent personal injuries as a result.

                82. That the said occurrence was due solely to the joint and several negligence and

             carelessness of the defendants herein and without the plaintiff contributing thereto.

                83. That Defendant, NYC PARTNERSHIP HOUSING DEVELOPMENT FUND

             COMPANY, INC., their agents, employees and/or servants were negligent and careless

             jointly and/or severally with Co-Defendants, their agents, servants and/or employees: in

             allowing the premises, in its unsafe state, to be maintained/inhabited while in violation of

             the rules and regulations of the State of New York and the City of New York; in failing to

             properly secure the unsafe premises; in failing to properly supervise the premises; in failing

             to adequately fireproof the premises; in failing to make sure adequate fire proofing existed,

             was installed, and in use at the premises; in failing to properly inspect the premises; in

             refusing requests to repair and/or remedy and/or restore and/or retrofit and/or fix and/or

             fireproof the subject premises; in creating a fire hazard; in failing to police and/or inspect

             the premises; in failing to install fire and/or smoke and/or carbon monoxide alarms; in

             failing to install adequate fire and/or smoke and/or carbon monoxide alarms; in failing to

             install sufficient fire and/or smoke and/or carbon monoxide alarms; in failing to install

             properly functioning fire and/or smoke and/or carbon monoxide alarms; in failing to

             properly place fire and/or smoke and/or carbon monoxide alarms; in allowing inadequate



                                                           19


                                                        19 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                  INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 21 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             and/or defective fire, smoke and carbon monoxide alarms; in allowing and permitting an

             inadequate and defective electrical system to be present at the premises; in failing to allow

             for adequate ingress and egress; in approving and/or allowing inadequate and unsafe

             proposals and applications; in failing to secure electricity outlets and/or conduits and/or

             sources; in failing to secure gas outlets and/or conduits and/or sources; in negligently

             maintaining and/or utilizing and/or supplying and/or installing electricity at the aforesaid

             premises; in creating and/or maintaining a structure that could not contain and/or handle

             and/or accommodate and/or properly transfer and/or safely transfer the electricity

             provided; in negligently maintaining and/or utilizing and/or supplying and/or installing

             gas; in negligently maintaining and/or utilizing and/or supplying and/or installing oil; in

             failing in their duty to keep the oil and/or gas burner, furnace, boiler, heating system and

             areas at the premises in a reasonably safe condition; in failing in their duty to keep said

             electric system in a reasonably safe condition; in failing to properly inspect; in creating,

             permitting and/or allowing said oil and/or gas burner, boiler, heating system and areas to

             remain in a darkened, defective, hazardous and/or dangerous condition; in failing to erect

             guards, barriers, fences or to otherwise warn of the dangerous conditions existing thereat;

             in negligently performing maintenance and/or repairs of said oil and/or gas burner, boiler

             and heating system; in performing construction and/or repair in a negligent manner; in

             creating and permitting a trap; in improperly designing said oil and/or gas burner, boiler,

             heating system and areas; in failing to properly clear areas of dirt, debris, oil, water and

             slippery substances; in failing to repair; in failing to warn; in failing to properly clean

             and/or clear said areas; in allowing pits, holes, depressions, cracks, uneven segments,

             debris and slippery substances to develop, remain and/or exist at said areas and/in in failing



                                                          20


                                                      20 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 22 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             to correct same; in failing to replace defective and/or broken parts, appurtenances and

             equipment; in failing to comply with contract provisions; in allowing said oil and/or gas

             burner, burner and heating system to overflow and leak; in failing to repair said leaks; in

             failing to have adequate drainage systems to contain and/or otherwise eliminate leaks; in

             having and/or employing incompetent help; in making negligent repairs; in permitting

             and/or causing a fire; in allowing said fire to accelerate; in failing to have proper fire safety

             protocols; in failing to have firefighting equipment and/or adequate sprinkler systems at

             said premises; in failing to properly hire, train and/or supervise its agents, servants and/or

             employees; in failing to give any warning to signal of said dangerous condition; in

             permitting and allowing said areas to be in a state of disrepair; in failing to inspect; in

             failing to take suitable and proper precautions for the safety of persons on and using said

             premises and steps; in failing to provide a safe passageway; in causing, allowing and

             permitting an obstruction to Plaintiff’s safe passage at said locations; in failing to provide

             adequate and properly functioning self-closing steel doors; in failing to provide a sprinkler

             system; in failing to provide an adequate and properly functioning sprinkler system; in

             failing to provide an adequate heating system; in failing to provide an intercom system; in

             failing to provide sufficient lighting; in failing to properly clean and/or maintain and/or

             repair said construct said oil and/or gas burner, boiler, heating system; in failing to use due

             care and caution under the circumstances; in leasing/letting the premises in the

             aforementioned condition; in allowing individuals to inhabit the premises in the

             aforementioned condition; in allowing individuals to reside at the premises in the

             aforementioned condition; in leasing the aforementioned premises to an unsafe number of

             tenants; in leasing the aforementioned premises to an unsafe number of individuals; in



                                                            21


                                                        21 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 23 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             allowing an unsafe number of individuals to inhabit the premises; in overcrowding the

             premises; in violating the applicable statutes, rules and ordinances of the State of New

             York, and the City of New York, including but not limited to the New York City Fire Code,

             the New York City Building Code; in failing to take proper and adequate measures and

             precautions to avoid and/or prevent the happening of the occurrence complained of; in

             causing and/or allowing the subject premises to be improperly designed, constructed,

             installed and maintained, and in violation of applicable codes, statutes and standards; in

             failing to post warnings at aforesaid location which was in an unsafe, dangerous and

             hazardous condition; in negligently, carelessly and recklessly hiring, supporting, funding

             and maintaining the operation of said location; in that no other warning devices were set

             up, and/or posted indicating the dangerous condition that existed; in failing to reasonably

             anticipate that persons lawfully inhabiting the subject premises could sustain physical

             injuries by reason of the unsafe, dangerous and hazardous conditions that existed; all of

             which Defendants, had due notice, or by reasonable inspection thereof, might and should

             have had due notice of said conditions causing the injures to the plaintiff; in failing to keep

             the subject premises reasonably safe; in actually creating a dangerous and hazardous

             condition at the subject premises; in negligently hiring, training, supervising, and directing

             their agents, servants, contractors, and/or employees; and in otherwise being careless,

             reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                84. That by reason of the negligence and carelessness of Defendant, NYC

             PARTNERSHIP HOUSING DEVELOPMENT FUND COMPANY, INC., Plaintiff

             HULLAMTOU CEESAY was caused to sustain serious and permanent injuries.




                                                           22


                                                       22 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 24 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                85. That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was damaged

             in a sum that exceeds the jurisdictional limits of all lower courts that would otherwise have

             jurisdiction over this matter.

                    AS AND FOR PLAINTIFF’S FOURTH CAUSE OF ACTION AGAINST
                             DEFENDANT LIHC INVESTMENT GROUP

                86. Plaintiff repeats, reiterates and re-alleges each and every allegation contained in

             paragraphs of this complaint designated “1” through “85” inclusive, as fully as though they

             were set forth herein at length.

                87. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees owned the premises located at 333 East

             181st Street, County of Bronx, State of New York [hereinafter “the subject premises”].

                88. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees maintained the subject premises.

                89. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees leased the subject premises.

                90. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees managed the subject premises.

                91. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees inspected the subject premises.

                92. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees repaired the subject premises.

                93. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees supervised the subject premises.




                                                          23


                                                      23 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 25 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                94. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees designed the subject premises.

                95. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees constructed the subject premises.

                96. That on and before January 9, 2022, Defendant LIHC INVESTMENT GROUP, its

             agents, servants, contractors and/or employees controlled the subject premises.

                97. That on and before January 9, 2022, and at all times hereinafter mentioned, it was

             the duty of Defendant, LIHC INVESTMENT GROUP, its agents, servants, and/or

             employees to keep and maintain the subject premises in a reasonably safe condition.

                98. That on January 9, 2022, while Plaintiff was lawfully present at the aforementioned

             subject premises, a major fire ignited and spread rapidly to multiple parts of the subject

             building.

                99. Plaintiff was caused to sustain serious and permanent personal injuries as a result.

                100.        That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                101.        That Defendant, LIHC INVESTMENT GROUP, their agents, employees

             and/or servants were negligent and careless jointly and/or severally with Co-Defendants,

             their agents, servants and/or employees: in allowing the premises, in its unsafe state, to be

             maintained/inhabited while in violation of the rules and regulations of the State of New

             York and the City of New York; in failing to properly secure the unsafe premises; in failing

             to properly supervise the premises; in failing to adequately fireproof the premises; in failing

             to make sure adequate fire proofing existed, was installed, and in use at the premises; in

             failing to properly inspect the premises; in refusing requests to repair and/or remedy and/or



                                                           24


                                                       24 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 26 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             restore and/or retrofit and/or fix and/or fireproof the subject premises; in creating a fire

             hazard; in failing to police and/or inspect the premises; in failing to install fire and/or smoke

             and/or carbon monoxide alarms; in failing to install adequate fire and/or smoke and/or

             carbon monoxide alarms; in failing to install sufficient fire and/or smoke and/or carbon

             monoxide alarms; in failing to install properly functioning fire and/or smoke and/or carbon

             monoxide alarms; in failing to properly place fire and/or smoke and/or carbon monoxide

             alarms; in allowing inadequate and/or defective fire, smoke and carbon monoxide alarms;

             in allowing and permitting an inadequate and defective electrical system to be present at

             the premises; in failing to allow for adequate ingress and egress; in approving and/or

             allowing inadequate and unsafe proposals and applications; in failing to secure electricity

             outlets and/or conduits and/or sources; in failing to secure gas outlets and/or conduits

             and/or sources; in negligently maintaining and/or utilizing and/or supplying and/or

             installing electricity at the aforesaid premises; in creating and/or maintaining a structure

             that could not contain and/or handle and/or accommodate and/or properly transfer and/or

             safely transfer the electricity provided; in negligently maintaining and/or utilizing and/or

             supplying and/or installing gas; in negligently maintaining and/or utilizing and/or

             supplying and/or installing oil; in failing in their duty to keep the oil and/or gas burner,

             furnace, boiler, heating system and areas at the premises in a reasonably safe condition; in

             failing in their duty to keep said electric system in a reasonably safe condition; in failing

             to properly inspect; in creating, permitting and/or allowing said oil and/or gas burner,

             boiler, heating system and areas to remain in a darkened, defective, hazardous and/or

             dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn of the

             dangerous conditions existing thereat; in negligently performing maintenance and/or



                                                            25


                                                        25 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 27 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to



                                                            26


                                                        26 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 28 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,



                                                          27


                                                      27 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 29 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                102.        That by reason of the negligence and carelessness of Defendant, LIHC

             INVESTMENT GROUP, Plaintiff HULLAMTOU CEESAY was caused to sustain serious

             and permanent injuries.

                103.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                       AS AND FOR PLAINTIFF’S FIFTH CAUSE OF ACTION AGAINST
                           DEFENDANT LIHC ACQUISITION COMPANY LLC

                104.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “103” inclusive, as fully

             as though they were set forth herein at length.

                105.        That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees owned the premises

             located at 333 East 181st Street, County of Bronx, State of New York [hereinafter “the

             subject premises”].

                106.        That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees maintained the

             subject premises.

                107.        That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees leased the subject

             premises.




                                                          28


                                                      28 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                           INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 30 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                108.       That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees managed the subject

             premises.

                109.       That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees inspected the subject

             premises.

                110.       That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees repaired the subject

             premises.

                111.       That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees supervised the subject

             premises.

                112.       That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees designed the subject

             premises.

                113.       That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees constructed the

             subject premises.

                114.       That on and before January 9, 2022, Defendant LIHC ACQUISITION

             COMPANY LLC, its agents, servants, contractors and/or employees controlled the subject

             premises.




                                                      29


                                                   29 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 31 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 115.       That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, LIHC ACQUISITION COMPANY LLC, its agents, servants,

             and/or employees to keep and maintain the subject premises in a reasonably safe condition.

                 116.       That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 117.       Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 118.       That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                 119.       That Defendant, LIHC ACQUISITION COMPANY LLC, their agents,

             employees and/or servants were negligent and careless jointly and/or severally with Co-

             Defendants, their agents, servants and/or employees: in allowing the premises, in its unsafe

             state, to be maintained/inhabited while in violation of the rules and regulations of the State

             of New York and the City of New York; in failing to properly secure the unsafe premises;

             in failing to properly supervise the premises; in failing to adequately fireproof the premises;

             in failing to make sure adequate fire proofing existed, was installed, and in use at the

             premises; in failing to properly inspect the premises; in refusing requests to repair and/or

             remedy and/or restore and/or retrofit and/or fix and/or fireproof the subject premises; in

             creating a fire hazard; in failing to police and/or inspect the premises; in failing to install

             fire and/or smoke and/or carbon monoxide alarms; in failing to install adequate fire and/or

             smoke and/or carbon monoxide alarms; in failing to install sufficient fire and/or smoke

             and/or carbon monoxide alarms; in failing to install properly functioning fire and/or smoke



                                                           30


                                                       30 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 32 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             and/or carbon monoxide alarms; in failing to properly place fire and/or smoke and/or

             carbon monoxide alarms; in allowing inadequate and/or defective fire, smoke and carbon

             monoxide alarms; in allowing and permitting an inadequate and defective electrical system

             to be present at the premises; in failing to allow for adequate ingress and egress; in

             approving and/or allowing inadequate and unsafe proposals and applications; in failing to

             secure electricity outlets and/or conduits and/or sources; in failing to secure gas outlets

             and/or conduits and/or sources; in negligently maintaining and/or utilizing and/or

             supplying and/or installing electricity at the aforesaid premises; in creating and/or

             maintaining a structure that could not contain and/or handle and/or accommodate and/or

             properly transfer and/or safely transfer the electricity provided; in negligently maintaining

             and/or utilizing and/or supplying and/or installing gas; in negligently maintaining and/or

             utilizing and/or supplying and/or installing oil; in failing in their duty to keep the oil and/or

             gas burner, furnace, boiler, heating system and areas at the premises in a reasonably safe

             condition; in failing in their duty to keep said electric system in a reasonably safe condition;

             in failing to properly inspect; in creating, permitting and/or allowing said oil and/or gas

             burner, boiler, heating system and areas to remain in a darkened, defective, hazardous

             and/or dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn

             of the dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,



                                                            31


                                                        31 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 33 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to



                                                           32


                                                       32 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 34 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                120.        That by reason of the negligence and carelessness of Defendant, LIHC

             ACQUISITION COMPANY LLC, Plaintiff HULLAMTOU CEESAY was caused to

             sustain serious and permanent injuries.



                                                          33


                                                       33 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                               INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 35 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                121.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                       AS AND FOR PLAINTIFF’S SIXTH CAUSE OF ACTION AGAINST
                               DEFENDANT LP SOLUTIONS FUND, LLC

                122.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “121” inclusive, as fully

             as though they were set forth herein at length.

                123.        That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees owned the premises located at 333

             East 181st Street, County of Bronx, State of New York [hereinafter “the subject premises”].

                124.        That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees maintained the subject premises.

                125.        That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees leased the subject premises.

                126.        That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees managed the subject premises.

                127.        That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees inspected the subject premises.

                128.        That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees repaired the subject premises.

                129.        That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees supervised the subject premises.




                                                         34


                                                      34 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 36 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 130.       That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees designed the subject premises.

                 131.       That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees constructed the subject premises.

                 132.       That on and before January 9, 2022, Defendant LP SOLUTIONS FUND,

             LLC, its agents, servants, contractors and/or employees controlled the subject premises.

                 133.       That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, LP SOLUTIONS FUND, LLC, its agents, servants, and/or

             employees to keep and maintain the subject premises in a reasonably safe condition.

                 134.       That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 135.       Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 136.       That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the Plaintiff contributing thereto.

                 137.       That Defendant, LP SOLUTIONS FUND, LLC, their agents, employees

             and/or servants were negligent and careless jointly and/or severally with Co-Defendants,

             their agents, servants and/or employees: in allowing the premises, in its unsafe state, to be

             maintained/inhabited while in violation of the rules and regulations of the State of New

             York and the City of New York; in failing to properly secure the unsafe premises; in failing

             to properly supervise the premises; in failing to adequately fireproof the premises; in failing

             to make sure adequate fire proofing existed, was installed, and in use at the premises; in



                                                           35


                                                       35 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 37 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             failing to properly inspect the premises; in refusing requests to repair and/or remedy and/or

             restore and/or retrofit and/or fix and/or fireproof the subject premises; in creating a fire

             hazard; in failing to police and/or inspect the premises; in failing to install fire and/or smoke

             and/or carbon monoxide alarms; in failing to install adequate fire and/or smoke and/or

             carbon monoxide alarms; in failing to install sufficient fire and/or smoke and/or carbon

             monoxide alarms; in failing to install properly functioning fire and/or smoke and/or carbon

             monoxide alarms; in failing to properly place fire and/or smoke and/or carbon monoxide

             alarms; in allowing inadequate and/or defective fire, smoke and carbon monoxide alarms;

             in allowing and permitting an inadequate and defective electrical system to be present at

             the premises; in failing to allow for adequate ingress and egress; in approving and/or

             allowing inadequate and unsafe proposals and applications; in failing to secure electricity

             outlets and/or conduits and/or sources; in failing to secure gas outlets and/or conduits

             and/or sources; in negligently maintaining and/or utilizing and/or supplying and/or

             installing electricity at the aforesaid premises; in creating and/or maintaining a structure

             that could not contain and/or handle and/or accommodate and/or properly transfer and/or

             safely transfer the electricity provided; in negligently maintaining and/or utilizing and/or

             supplying and/or installing gas; in negligently maintaining and/or utilizing and/or

             supplying and/or installing oil; in failing in their duty to keep the oil and/or gas burner,

             furnace, boiler, heating system and areas at the premises in a reasonably safe condition; in

             failing in their duty to keep said electric system in a reasonably safe condition; in failing

             to properly inspect; in creating, permitting and/or allowing said oil and/or gas burner,

             boiler, heating system and areas to remain in a darkened, defective, hazardous and/or

             dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn of the



                                                            36


                                                        36 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 38 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in



                                                            37


                                                        37 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 39 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and



                                                           38


                                                       38 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                  INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 40 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                138.        That by reason of the negligence and carelessness of Defendant, LP

             SOLUTIONS FUND, LLC, Plaintiff HULLAMTOU CEESAY was caused to sustain

             serious and permanent injuries.

                139.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                    AS AND FOR PLAINTIFF’S SEVENTH CAUSE OF ACTION AGAINST
                               DEFENDANT BELVERON PARTNERS

                140.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “139” inclusive, as fully

             as though they were set forth herein at length.

                141.        That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees owned the premises located at 333 East

             181st Street, County of Bronx, State of New York [hereinafter “the subject premises”].

                142.        That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees maintained the subject premises.

                143.        That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees leased the subject premises.

                144.        That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees managed the subject premises.




                                                          39


                                                      39 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 41 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 145.       That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees inspected the subject premises.

                 146.       That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees repaired the subject premises.

                 147.       That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees supervised the subject premises.

                 148.       That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees designed the subject premises.

                 149.       That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees constructed the subject premises.

                 150.       That on and before January 9, 2022, Defendant BELVERON PARTNERS,

             its agents, servants, contractors and/or employees controlled the subject premises.

                 151.       That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, BELVERON PARTNERS, its agents, servants, and/or

             employees to keep and maintain the subject premises in a reasonably safe condition.

                 152.       That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 153.       Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 154.       That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.




                                                         40


                                                     40 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 42 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 155.        That Defendant, BELVERON PARTNERS, their agents, employees and/or

             servants were negligent and careless jointly and/or severally with Co-Defendants, their

             agents, servants and/or employees: in allowing the premises, in its unsafe state, to be

             maintained/inhabited while in violation of the rules and regulations of the State of New

             York and the City of New York; in failing to properly secure the unsafe premises; in failing

             to properly supervise the premises; in failing to adequately fireproof the premises; in failing

             to make sure adequate fire proofing existed, was installed, and in use at the premises; in

             failing to properly inspect the premises; in refusing requests to repair and/or remedy and/or

             restore and/or retrofit and/or fix and/or fireproof the subject premises; in creating a fire

             hazard; in failing to police and/or inspect the premises; in failing to install fire and/or smoke

             and/or carbon monoxide alarms; in failing to install adequate fire and/or smoke and/or

             carbon monoxide alarms; in failing to install sufficient fire and/or smoke and/or carbon

             monoxide alarms; in failing to install properly functioning fire and/or smoke and/or carbon

             monoxide alarms; in failing to properly place fire and/or smoke and/or carbon monoxide

             alarms; in allowing inadequate and/or defective fire, smoke and carbon monoxide alarms;

             in allowing and permitting an inadequate and defective electrical system to be present at

             the premises; in failing to allow for adequate ingress and egress; in approving and/or

             allowing inadequate and unsafe proposals and applications; in failing to secure electricity

             outlets and/or conduits and/or sources; in failing to secure gas outlets and/or conduits

             and/or sources; in negligently maintaining and/or utilizing and/or supplying and/or

             installing electricity at the aforesaid premises; in creating and/or maintaining a structure

             that could not contain and/or handle and/or accommodate and/or properly transfer and/or

             safely transfer the electricity provided; in negligently maintaining and/or utilizing and/or



                                                            41


                                                        41 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 43 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             supplying and/or installing gas; in negligently maintaining and/or utilizing and/or

             supplying and/or installing oil; in failing in their duty to keep the oil and/or gas burner,

             furnace, boiler, heating system and areas at the premises in a reasonably safe condition; in

             failing in their duty to keep said electric system in a reasonably safe condition; in failing

             to properly inspect; in creating, permitting and/or allowing said oil and/or gas burner,

             boiler, heating system and areas to remain in a darkened, defective, hazardous and/or

             dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn of the

             dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning



                                                            42


                                                        42 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 44 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,



                                                           43


                                                       43 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 45 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                156.        That by reason of the negligence and carelessness of Defendant,

             BELVERON PARTNERS, Plaintiff HULLAMTOU CEESAY was caused to sustain

             serious and permanent injuries.

                157.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                     AS AND FOR PLAINTIFF’S EIGHTH CAUSE OF ACTION AGAINST
                         DEFENDANT BELVERON NY PRESERVATION, LLC

                158.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “157” inclusive, as fully

             as though they were set forth herein at length.

                159.        That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees owned the




                                                          44


                                                      44 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                              INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 46 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             premises located at 333 East 181st Street, County of Bronx, State of New York [hereinafter

             “the subject premises”].

                160.        That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees maintained the

             subject premises.

                161.        That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees leased the

             subject premises.

                162.        That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees managed the

             subject premises.

                163.        That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees inspected the

             subject premises.

                164.        That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees repaired the

             subject premises.

                165.        That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees supervised the

             subject premises.

                166.        That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees designed the

             subject premises.



                                                        45


                                                    45 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 47 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 167.       That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees constructed the

             subject premises.

                 168.       That on and before January 9, 2022, Defendant BELVERON NY

             PRESERVATION, LLC, its agents, servants, contractors and/or employees controlled the

             subject premises.

                 169.       That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, BELVERON NY PRESERVATION, LLC, its agents,

             servants, and/or employees to keep and maintain the subject premises in a reasonably safe

             condition.

                 170.       That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 171.       Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 172.       That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                 173.       That Defendant, BELVERON NY PRESERVATION, LLC, their agents,

             employees and/or servants were negligent and careless jointly and/or severally with Co-

             Defendants, their agents, servants and/or employees: in allowing the premises, in its unsafe

             state, to be maintained/inhabited while in violation of the rules and regulations of the State

             of New York and the City of New York; in failing to properly secure the unsafe premises;

             in failing to properly supervise the premises; in failing to adequately fireproof the premises;



                                                           46


                                                       46 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 48 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             in failing to make sure adequate fire proofing existed, was installed, and in use at the

             premises; in failing to properly inspect the premises; in refusing requests to repair and/or

             remedy and/or restore and/or retrofit and/or fix and/or fireproof the subject premises; in

             creating a fire hazard; in failing to police and/or inspect the premises; in failing to install

             fire and/or smoke and/or carbon monoxide alarms; in failing to install adequate fire and/or

             smoke and/or carbon monoxide alarms; in failing to install sufficient fire and/or smoke

             and/or carbon monoxide alarms; in failing to install properly functioning fire and/or smoke

             and/or carbon monoxide alarms; in failing to properly place fire and/or smoke and/or

             carbon monoxide alarms; in allowing inadequate and/or defective fire, smoke and carbon

             monoxide alarms; in allowing and permitting an inadequate and defective electrical system

             to be present at the premises; in failing to allow for adequate ingress and egress; in

             approving and/or allowing inadequate and unsafe proposals and applications; in failing to

             secure electricity outlets and/or conduits and/or sources; in failing to secure gas outlets

             and/or conduits and/or sources; in negligently maintaining and/or utilizing and/or

             supplying and/or installing electricity at the aforesaid premises; in creating and/or

             maintaining a structure that could not contain and/or handle and/or accommodate and/or

             properly transfer and/or safely transfer the electricity provided; in negligently maintaining

             and/or utilizing and/or supplying and/or installing gas; in negligently maintaining and/or

             utilizing and/or supplying and/or installing oil; in failing in their duty to keep the oil and/or

             gas burner, furnace, boiler, heating system and areas at the premises in a reasonably safe

             condition; in failing in their duty to keep said electric system in a reasonably safe condition;

             in failing to properly inspect; in creating, permitting and/or allowing said oil and/or gas

             burner, boiler, heating system and areas to remain in a darkened, defective, hazardous



                                                            47


                                                        47 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 49 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             and/or dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn

             of the dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and



                                                            48


                                                        48 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 50 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;



                                                           49


                                                       49 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 51 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                174.        That by reason of the negligence and carelessness of Defendant,

             BELVERON NY PRESERVATION, LLC, Plaintiff HULLAMTOU CEESAY was caused

             to sustain serious and permanent injuries.

                175.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                       AS AND FOR PLAINTIFF’S NINTH CAUSE OF ACTION AGAINST
                            DEFENDANT CAMBER PROPERTY GROUP, LLC

                176.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “175” inclusive, as fully

             as though they were set forth herein at length.

                177.        That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees owned the premises

             located at 333 East 181st Street, County of Bronx, State of New York [hereinafter “the

             subject premises”].

                178.        That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees maintained the subject

             premises.




                                                          50


                                                      50 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                           INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 52 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                179.       That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees leased the subject

             premises.

                180.       That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees managed the subject

             premises.

                181.       That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees inspected the subject

             premises.

                182.       That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees repaired the subject

             premises.

                183.       That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees supervised the subject

             premises.

                184.       That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees designed the subject

             premises.

                185.       That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees constructed the subject

             premises.




                                                      51


                                                   51 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 53 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 186.       That on and before January 9, 2022, Defendant CAMBER PROPERTY

             GROUP, LLC, its agents, servants, contractors and/or employees controlled the subject

             premises.

                 187.       That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, CAMBER PROPERTY GROUP, LLC, its agents, servants,

             and/or employees to keep and maintain the subject premises in a reasonably safe condition.

                 188.       That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 189.       Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 190.       That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                 191.       That Defendant, CAMBER PROPERTY GROUP, LLC, their agents,

             employees and/or servants were negligent and careless jointly and/or severally with Co-

             Defendants, their agents, servants and/or employees: in allowing the premises, in its unsafe

             state, to be maintained/inhabited while in violation of the rules and regulations of the State

             of New York and the City of New York; in failing to properly secure the unsafe premises;

             in failing to properly supervise the premises; in failing to adequately fireproof the premises;

             in failing to make sure adequate fire proofing existed, was installed, and in use at the

             premises; in failing to properly inspect the premises; in refusing requests to repair and/or

             remedy and/or restore and/or retrofit and/or fix and/or fireproof the subject premises; in

             creating a fire hazard; in failing to police and/or inspect the premises; in failing to install



                                                           52


                                                       52 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 54 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             fire and/or smoke and/or carbon monoxide alarms; in failing to install adequate fire and/or

             smoke and/or carbon monoxide alarms; in failing to install sufficient fire and/or smoke

             and/or carbon monoxide alarms; in failing to install properly functioning fire and/or smoke

             and/or carbon monoxide alarms; in failing to properly place fire and/or smoke and/or

             carbon monoxide alarms; in allowing inadequate and/or defective fire, smoke and carbon

             monoxide alarms; in allowing and permitting an inadequate and defective electrical system

             to be present at the premises; in failing to allow for adequate ingress and egress; in

             approving and/or allowing inadequate and unsafe proposals and applications; in failing to

             secure electricity outlets and/or conduits and/or sources; in failing to secure gas outlets

             and/or conduits and/or sources; in negligently maintaining and/or utilizing and/or

             supplying and/or installing electricity at the aforesaid premises; in creating and/or

             maintaining a structure that could not contain and/or handle and/or accommodate and/or

             properly transfer and/or safely transfer the electricity provided; in negligently maintaining

             and/or utilizing and/or supplying and/or installing gas; in negligently maintaining and/or

             utilizing and/or supplying and/or installing oil; in failing in their duty to keep the oil and/or

             gas burner, furnace, boiler, heating system and areas at the premises in a reasonably safe

             condition; in failing in their duty to keep said electric system in a reasonably safe condition;

             in failing to properly inspect; in creating, permitting and/or allowing said oil and/or gas

             burner, boiler, heating system and areas to remain in a darkened, defective, hazardous

             and/or dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn

             of the dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly



                                                            53


                                                        53 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 55 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in



                                                            54


                                                        54 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 56 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.



                                                          55


                                                      55 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                              INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 57 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                192.        That by reason of the negligence and carelessness of Defendant, CAMBER

             PROPERTY GROUP, LLC, Plaintiff HULLAMTOU CEESAY was caused to sustain

             serious and permanent injuries.

                193.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                       AS AND FOR PLAINTIFF’S TENTH CAUSE OF ACTION AGAINST
                          DEFENDANT CAMMEBY’S INTERNATIONAL GROUP

                194.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “193” inclusive, as fully

             as though they were set forth herein at length.

                195.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees owned the

             premises located at 333 East 181st Street, County of Bronx, State of New York [hereinafter

             “the subject premises”].

                196.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees

             maintained the subject premises.

                197.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees leased the

             subject premises.

                198.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees managed

             the subject premises.

                                                         56


                                                      56 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                              INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 58 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                199.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees inspected

             the subject premises.

                200.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees repaired

             the subject premises.

                201.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees

             supervised the subject premises.

                202.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees designed

             the subject premises.

                203.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees

             constructed the subject premises.

                204.        That on and before January 9, 2022, Defendant CAMMEBY’S

             INTERNATIONAL GROUP, its agents, servants, contractors and/or employees controlled

             the subject premises.

                205.        That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, CAMMEBY’S INTERNATIONAL GROUP, its agents,

             servants, and/or employees to keep and maintain the subject premises in a reasonably safe

             condition.




                                                        57


                                                     57 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 59 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 206.       That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 207.       Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 208.       That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                 209.       That Defendant, CAMMEBY’S INTERNATIONAL GROUP, their agents,

             employees and/or servants were negligent and careless jointly and/or severally with Co-

             Defendants, their agents, servants and/or employees: in allowing the premises, in its unsafe

             state, to be maintained/inhabited while in violation of the rules and regulations of the State

             of New York and the City of New York; in failing to properly secure the unsafe premises;

             in failing to properly supervise the premises; in failing to adequately fireproof the premises;

             in failing to make sure adequate fire proofing existed, was installed, and in use at the

             premises; in failing to properly inspect the premises; in refusing requests to repair and/or

             remedy and/or restore and/or retrofit and/or fix and/or fireproof the subject premises; in

             creating a fire hazard; in failing to police and/or inspect the premises; in failing to install

             fire and/or smoke and/or carbon monoxide alarms; in failing to install adequate fire and/or

             smoke and/or carbon monoxide alarms; in failing to install sufficient fire and/or smoke

             and/or carbon monoxide alarms; in failing to install properly functioning fire and/or smoke

             and/or carbon monoxide alarms; in failing to properly place fire and/or smoke and/or

             carbon monoxide alarms; in allowing inadequate and/or defective fire, smoke and carbon

             monoxide alarms; in allowing and permitting an inadequate and defective electrical system



                                                           58


                                                       58 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 60 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             to be present at the premises; in failing to allow for adequate ingress and egress; in

             approving and/or allowing inadequate and unsafe proposals and applications; in failing to

             secure electricity outlets and/or conduits and/or sources; in failing to secure gas outlets

             and/or conduits and/or sources; in negligently maintaining and/or utilizing and/or

             supplying and/or installing electricity at the aforesaid premises; in creating and/or

             maintaining a structure that could not contain and/or handle and/or accommodate and/or

             properly transfer and/or safely transfer the electricity provided; in negligently maintaining

             and/or utilizing and/or supplying and/or installing gas; in negligently maintaining and/or

             utilizing and/or supplying and/or installing oil; in failing in their duty to keep the oil and/or

             gas burner, furnace, boiler, heating system and areas at the premises in a reasonably safe

             condition; in failing in their duty to keep said electric system in a reasonably safe condition;

             in failing to properly inspect; in creating, permitting and/or allowing said oil and/or gas

             burner, boiler, heating system and areas to remain in a darkened, defective, hazardous

             and/or dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn

             of the dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract



                                                            59


                                                        59 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 61 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the



                                                           60


                                                       60 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 62 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                210.        That by reason of the negligence and carelessness of Defendant,

             CAMMEBY’S INTERNATIONAL GROUP, Plaintiff HULLAMTOU CEESAY was

             caused to sustain serious and permanent injuries.

                211.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.



                                                          61


                                                      61 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                              INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 63 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                   AS AND FOR PLAINTIFF’S ELEVENTH CAUSE OF ACTION AGAINST
                         DEFENDANT CAMMEBY’S CAPITAL GROUP, LLC

                212.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “211” inclusive, as fully

             as though they were set forth herein at length.

                213.        That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees owned the premises

             located at 333 East 181st Street, County of Bronx, State of New York [hereinafter “the

             subject premises”].

                214.        That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees maintained the subject

             premises.

                215.        That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees leased the subject

             premises.

                216.        That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees managed the subject

             premises.

                217.        That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees inspected the subject

             premises.

                218.        That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees repaired the subject

             premises.

                                                         62


                                                      62 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 64 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 219.       That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees supervised the subject

             premises.

                 220.       That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees designed the subject

             premises.

                 221.       That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees constructed the subject

             premises.

                 222.       That on and before January 9, 2022, Defendant CAMMEBY’S CAPITAL

             GROUP, LLC, its agents, servants, contractors and/or employees controlled the subject

             premises.

                 223.       That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, CAMMEBY’S CAPITAL GROUP, LLC, its agents, servants,

             and/or employees to keep and maintain the subject premises in a reasonably safe condition.

                 224.       That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 225.       Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 226.       That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.




                                                         63


                                                     63 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 65 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                227.        That Defendant, CAMMEBY’S CAPITAL GROUP, LLC, their agents,

             employees and/or servants were negligent and careless jointly and/or severally with Co-

             Defendants, their agents, servants and/or employees: in allowing the premises, in its unsafe

             state, to be maintained/inhabited while in violation of the rules and regulations of the State

             of New York and the City of New York; in failing to properly secure the unsafe premises;

             in failing to properly supervise the premises; in failing to adequately fireproof the premises;

             in failing to make sure adequate fire proofing existed, was installed, and in use at the

             premises; in failing to properly inspect the premises; in refusing requests to repair and/or

             remedy and/or restore and/or retrofit and/or fix and/or fireproof the subject premises; in

             creating a fire hazard; in failing to police and/or inspect the premises; in failing to install

             fire and/or smoke and/or carbon monoxide alarms; in failing to install adequate fire and/or

             smoke and/or carbon monoxide alarms; in failing to install sufficient fire and/or smoke

             and/or carbon monoxide alarms; in failing to install properly functioning fire and/or smoke

             and/or carbon monoxide alarms; in failing to properly place fire and/or smoke and/or

             carbon monoxide alarms; in allowing inadequate and/or defective fire, smoke and carbon

             monoxide alarms; in allowing and permitting an inadequate and defective electrical system

             to be present at the premises; in failing to allow for adequate ingress and egress; in

             approving and/or allowing inadequate and unsafe proposals and applications; in failing to

             secure electricity outlets and/or conduits and/or sources; in failing to secure gas outlets

             and/or conduits and/or sources; in negligently maintaining and/or utilizing and/or

             supplying and/or installing electricity at the aforesaid premises; in creating and/or

             maintaining a structure that could not contain and/or handle and/or accommodate and/or

             properly transfer and/or safely transfer the electricity provided; in negligently maintaining



                                                           64


                                                       64 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 66 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             and/or utilizing and/or supplying and/or installing gas; in negligently maintaining and/or

             utilizing and/or supplying and/or installing oil; in failing in their duty to keep the oil and/or

             gas burner, furnace, boiler, heating system and areas at the premises in a reasonably safe

             condition; in failing in their duty to keep said electric system in a reasonably safe condition;

             in failing to properly inspect; in creating, permitting and/or allowing said oil and/or gas

             burner, boiler, heating system and areas to remain in a darkened, defective, hazardous

             and/or dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn

             of the dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning



                                                            65


                                                        65 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 67 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,



                                                           66


                                                       66 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 68 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                228.        That by reason of the negligence and carelessness of Defendant,

             CAMMEBY’S CAPITAL GROUP, LLC, Plaintiff HULLAMTOU CEESAY was caused

             to sustain serious and permanent injuries.

                229.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                   AS AND FOR PLAINTIFF’S TWELFTH CAUSE OF ACTION AGAINST
                            DEFENDANT CAMMEBY’S FUNDING, LLC

                230.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “229” inclusive, as fully

             as though they were set forth herein at length.

                231.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, its agents, servants, contractors and/or employees owned the premises located at 333

             East 181st Street, County of Bronx, State of New York [hereinafter “the subject premises”].

                                                          67


                                                      67 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                              INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 69 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                232.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, its agents, servants, contractors and/or employees maintained the subject premises.

                233.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, its agents, servants, contractors and/or employees leased the subject premises.

                234.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, its agents, servants, contractors and/or employees managed the subject premises.

                235.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, its agents, servants, contractors and/or employees inspected the subject premises.

                236.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, its agents, servants, contractors and/or employees repaired the subject premises.

                237.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, its agents, servants, contractors and/or employees supervised the subject premises.

                238.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, its agents, servants, contractors and/or employees designed the subject premises.

                239.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, its agents, servants, contractors and/or employees constructed the subject premises.

                240.        That on and before January 9, 2022, Defendant CAMMEBY’S FUNDING,

             LLC, agents, servants, contractors and/or employees controlled the subject premises.

                241.        That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, CAMMEBY’S FUNDING, LLC, its agents, servants, and/or

             employees to keep and maintain the subject premises in a reasonably safe condition.




                                                        68


                                                     68 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 70 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 242.        That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 243.        Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 244.        That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                 245.        That Defendant, CAMMEBY’S FUNDING, LLC, their agents, employees

             and/or servants were negligent and careless jointly and/or severally with Co-Defendants,

             their agents, servants and/or employees: in allowing the premises, in its unsafe state, to be

             maintained/inhabited while in violation of the rules and regulations of the State of New

             York and the City of New York; in failing to properly secure the unsafe premises; in failing

             to properly supervise the premises; in failing to adequately fireproof the premises; in failing

             to make sure adequate fire proofing existed, was installed, and in use at the premises; in

             failing to properly inspect the premises; in refusing requests to repair and/or remedy and/or

             restore and/or retrofit and/or fix and/or fireproof the subject premises; in creating a fire

             hazard; in failing to police and/or inspect the premises; in failing to install fire and/or smoke

             and/or carbon monoxide alarms; in failing to install adequate fire and/or smoke and/or

             carbon monoxide alarms; in failing to install sufficient fire and/or smoke and/or carbon

             monoxide alarms; in failing to install properly functioning fire and/or smoke and/or carbon

             monoxide alarms; in failing to properly place fire and/or smoke and/or carbon monoxide

             alarms; in allowing inadequate and/or defective fire, smoke and carbon monoxide alarms;

             in allowing and permitting an inadequate and defective electrical system to be present at



                                                            69


                                                        69 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 71 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             the premises; in failing to allow for adequate ingress and egress; in approving and/or

             allowing inadequate and unsafe proposals and applications; in failing to secure electricity

             outlets and/or conduits and/or sources; in failing to secure gas outlets and/or conduits

             and/or sources; in negligently maintaining and/or utilizing and/or supplying and/or

             installing electricity at the aforesaid premises; in creating and/or maintaining a structure

             that could not contain and/or handle and/or accommodate and/or properly transfer and/or

             safely transfer the electricity provided; in negligently maintaining and/or utilizing and/or

             supplying and/or installing gas; in negligently maintaining and/or utilizing and/or

             supplying and/or installing oil; in failing in their duty to keep the oil and/or gas burner,

             furnace, boiler, heating system and areas at the premises in a reasonably safe condition; in

             failing in their duty to keep said electric system in a reasonably safe condition; in failing

             to properly inspect; in creating, permitting and/or allowing said oil and/or gas burner,

             boiler, heating system and areas to remain in a darkened, defective, hazardous and/or

             dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn of the

             dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract



                                                            70


                                                        70 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 72 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the



                                                           71


                                                       71 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 73 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                246.        That by reason of the negligence and carelessness of Defendant,

             CAMMEBY’S FUNDING, LLC, Plaintiff HULLAMTOU CEESAY was caused to sustain

             serious and permanent injuries.

                247.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.



                                                          72


                                                      72 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                               INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 74 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 AS AND FOR PLAINTIFF’S THIRTEENTH CAUSE OF ACTION AGAINST
                             DEFENDANT SF RECTOR STREET, LLC

                248.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “247” inclusive, as fully

             as though they were set forth herein at length.

                249.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees owned the premises located at 333

             East 181st Street, County of Bronx, State of New York [hereinafter “the subject premises”].

                250.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees maintained the subject premises.

                251.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees leased the subject premises.

                252.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees managed the subject premises.

                253.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees inspected the subject premises.

                254.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees repaired the subject premises.

                255.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees supervised the subject premises.

                256.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees designed the subject premises.

                257.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees constructed the subject premises.

                                                         73


                                                      73 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 75 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 258.        That on and before January 9, 2022, Defendant SF RECTOR STREET,

             LLC, its agents, servants, contractors and/or employees controlled the subject premises.

                 259.        That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, SF RECTOR STREET, LLC, its agents, servants, and/or

             employees to keep and maintain the subject premises in a reasonably safe condition.

                 260.        That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 261.        Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 262.        That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                 263.        That Defendant, SF RECTOR STREET, LLC, their agents, employees

             and/or servants were negligent and careless jointly and/or severally with Co-Defendants,

             their agents, servants and/or employees: in allowing the premises, in its unsafe state, to be

             maintained/inhabited while in violation of the rules and regulations of the State of New

             York and the City of New York; in failing to properly secure the unsafe premises; in failing

             to properly supervise the premises; in failing to adequately fireproof the premises; in failing

             to make sure adequate fire proofing existed, was installed, and in use at the premises; in

             failing to properly inspect the premises; in refusing requests to repair and/or remedy and/or

             restore and/or retrofit and/or fix and/or fireproof the subject premises; in creating a fire

             hazard; in failing to police and/or inspect the premises; in failing to install fire and/or smoke

             and/or carbon monoxide alarms; in failing to install adequate fire and/or smoke and/or



                                                            74


                                                        74 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                  INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 76 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             carbon monoxide alarms; in failing to install sufficient fire and/or smoke and/or carbon

             monoxide alarms; in failing to install properly functioning fire and/or smoke and/or carbon

             monoxide alarms; in failing to properly place fire and/or smoke and/or carbon monoxide

             alarms; in allowing inadequate and/or defective fire, smoke and carbon monoxide alarms;

             in allowing and permitting an inadequate and defective electrical system to be present at

             the premises; in failing to allow for adequate ingress and egress; in approving and/or

             allowing inadequate and unsafe proposals and applications; in failing to secure electricity

             outlets and/or conduits and/or sources; in failing to secure gas outlets and/or conduits

             and/or sources; in negligently maintaining and/or utilizing and/or supplying and/or

             installing electricity at the aforesaid premises; in creating and/or maintaining a structure

             that could not contain and/or handle and/or accommodate and/or properly transfer and/or

             safely transfer the electricity provided; in negligently maintaining and/or utilizing and/or

             supplying and/or installing gas; in negligently maintaining and/or utilizing and/or

             supplying and/or installing oil; in failing in their duty to keep the oil and/or gas burner,

             furnace, boiler, heating system and areas at the premises in a reasonably safe condition; in

             failing in their duty to keep said electric system in a reasonably safe condition; in failing

             to properly inspect; in creating, permitting and/or allowing said oil and/or gas burner,

             boiler, heating system and areas to remain in a darkened, defective, hazardous and/or

             dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn of the

             dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly



                                                          75


                                                      75 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 77 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to



                                                            76


                                                        76 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 78 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.




                                                          77


                                                      77 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 79 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                264.        That by reason of the negligence and carelessness of Defendant, SF

             RECTOR STREET, LLC, Plaintiff HULLAMTOU CEESAY was caused to sustain

             serious and permanent injuries.

                265.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                 AS AND FOR PLAINTIFF’S FOURTEENTH CAUSE OF ACTION AGAINST
                                 DEFENDANT RICK GROPPER

                266.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “265” inclusive, as fully

             as though they were set forth herein at length.

                267.        That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees owned the premises located at 333 East

             181st Street, County of Bronx, State of New York [hereinafter “the subject premises”].

                268.        That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees maintained the subject premises.

                269.        That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees leased the subject premises.

                270.        That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees managed the subject premises.

                271.        That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees inspected the subject premises.

                272.        That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees repaired the subject premises.

                                                         78


                                                      78 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 80 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 273.       That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees supervised the subject premises.

                 274.       That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees designed the subject premises.

                 275.       That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees constructed the subject premises.

                 276.       That on and before January 9, 2022, Defendant RICK GROPPER, their

             agents, servants, contractors and/or employees controlled the subject premises.

                 277.       That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, RICK GROPPER, its agents, servants, and/or employees to

             keep and maintain the subject premises in a reasonably safe condition.

                 278.       That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 279.       Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 280.       That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                 281.       That Defendant, RICK GROPPER, their agents, employees and/or servants

             were negligent and careless jointly and/or severally with Co-Defendants, their agents,

             servants and/or employees: in allowing the premises, in its unsafe state, to be

             maintained/inhabited while in violation of the rules and regulations of the State of New

             York and the City of New York; in failing to properly secure the unsafe premises; in failing



                                                         79


                                                     79 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 81 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             to properly supervise the premises; in failing to adequately fireproof the premises; in failing

             to make sure adequate fire proofing existed, was installed, and in use at the premises; in

             failing to properly inspect the premises; in refusing requests to repair and/or remedy and/or

             restore and/or retrofit and/or fix and/or fireproof the subject premises; in creating a fire

             hazard; in failing to police and/or inspect the premises; in failing to install fire and/or smoke

             and/or carbon monoxide alarms; in failing to install adequate fire and/or smoke and/or

             carbon monoxide alarms; in failing to install sufficient fire and/or smoke and/or carbon

             monoxide alarms; in failing to install properly functioning fire and/or smoke and/or carbon

             monoxide alarms; in failing to properly place fire and/or smoke and/or carbon monoxide

             alarms; in allowing inadequate and/or defective fire, smoke and carbon monoxide alarms;

             in allowing and permitting an inadequate and defective electrical system to be present at

             the premises; in failing to allow for adequate ingress and egress; in approving and/or

             allowing inadequate and unsafe proposals and applications; in failing to secure electricity

             outlets and/or conduits and/or sources; in failing to secure gas outlets and/or conduits

             and/or sources; in negligently maintaining and/or utilizing and/or supplying and/or

             installing electricity at the aforesaid premises; in creating and/or maintaining a structure

             that could not contain and/or handle and/or accommodate and/or properly transfer and/or

             safely transfer the electricity provided; in negligently maintaining and/or utilizing and/or

             supplying and/or installing gas; in negligently maintaining and/or utilizing and/or

             supplying and/or installing oil; in failing in their duty to keep the oil and/or gas burner,

             furnace, boiler, heating system and areas at the premises in a reasonably safe condition; in

             failing in their duty to keep said electric system in a reasonably safe condition; in failing

             to properly inspect; in creating, permitting and/or allowing said oil and/or gas burner,



                                                            80


                                                        80 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 82 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             boiler, heating system and areas to remain in a darkened, defective, hazardous and/or

             dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn of the

             dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel



                                                            81


                                                        81 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 83 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,



                                                           82


                                                       82 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 84 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                282.        That by reason of the negligence and carelessness of Defendant, RICK

             GROPPER, Plaintiff HULLAMTOU CEESAY was caused to sustain serious and

             permanent injuries.

                283.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                  AS AND FOR PLAINTIFF’S FIFTEENTH CAUSE OF ACTION AGAINST
                                DEFENDANT ANDREW MOELIS

                284.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “283” inclusive, as fully

             as though they were set forth herein at length.

                285.        That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees owned the premises located at 333 East

             181st Street, County of Bronx, State of New York [hereinafter “the subject premises”].

                286.        That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees maintained the subject premises.

                287.        That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees leased the subject premises.




                                                          83


                                                      83 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 85 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 288.       That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees managed the subject premises.

                 289.       That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees inspected the subject premises.

                 290.       That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees repaired the subject premises.

                 291.       That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees supervised the subject premises.

                 292.       That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees designed the subject premises.

                 293.       That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees constructed the subject premises.

                 294.       That on and before January 9, 2022, Defendant ANDREW MOELIS, their

             agents, servants, contractors and/or employees controlled the subject premises.

                 295.       That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, ANDREW MOELIS, their agents, servants, and/or employees

             to keep and maintain the subject premises in a reasonably safe condition.

                 296.       That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 297.       Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.




                                                         84


                                                     84 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 86 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 298.        That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                 299.        That Defendant, ANDREW MOELIS, their agents, employees and/or

             servants were negligent and careless jointly and/or severally with Co-Defendants, their

             agents, servants and/or employees: in allowing the premises, in its unsafe state, to be

             maintained/inhabited while in violation of the rules and regulations of the State of New

             York and the City of New York; in failing to properly secure the unsafe premises; in failing

             to properly supervise the premises; in failing to adequately fireproof the premises; in failing

             to make sure adequate fire proofing existed, was installed, and in use at the premises; in

             failing to properly inspect the premises; in refusing requests to repair and/or remedy and/or

             restore and/or retrofit and/or fix and/or fireproof the subject premises; in creating a fire

             hazard; in failing to police and/or inspect the premises; in failing to install fire and/or smoke

             and/or carbon monoxide alarms; in failing to install adequate fire and/or smoke and/or

             carbon monoxide alarms; in failing to install sufficient fire and/or smoke and/or carbon

             monoxide alarms; in failing to install properly functioning fire and/or smoke and/or carbon

             monoxide alarms; in failing to properly place fire and/or smoke and/or carbon monoxide

             alarms; in allowing inadequate and/or defective fire, smoke and carbon monoxide alarms;

             in allowing and permitting an inadequate and defective electrical system to be present at

             the premises; in failing to allow for adequate ingress and egress; in approving and/or

             allowing inadequate and unsafe proposals and applications; in failing to secure electricity

             outlets and/or conduits and/or sources; in failing to secure gas outlets and/or conduits

             and/or sources; in negligently maintaining and/or utilizing and/or supplying and/or

             installing electricity at the aforesaid premises; in creating and/or maintaining a structure



                                                            85


                                                        85 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 87 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             that could not contain and/or handle and/or accommodate and/or properly transfer and/or

             safely transfer the electricity provided; in negligently maintaining and/or utilizing and/or

             supplying and/or installing gas; in negligently maintaining and/or utilizing and/or

             supplying and/or installing oil; in failing in their duty to keep the oil and/or gas burner,

             furnace, boiler, heating system and areas at the premises in a reasonably safe condition; in

             failing in their duty to keep said electric system in a reasonably safe condition; in failing

             to properly inspect; in creating, permitting and/or allowing said oil and/or gas burner,

             boiler, heating system and areas to remain in a darkened, defective, hazardous and/or

             dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn of the

             dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,

             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting



                                                            86


                                                        86 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 88 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to

             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and



                                                           87


                                                       87 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 89 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                 300.       That by reason of the negligence and carelessness of Defendant, ANDREW

             MOELIS, Plaintiff HULLAMTOU CEESAY was caused to sustain serious and permanent

             injuries.

                 301.       That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

                   AS AND FOR PLAINTIFF’S SIXTEENTH CAUSE OF ACTION AGAINST
                                  DEFENDANT RUBIN SCHRON

                 302.       Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “301” inclusive, as fully

             as though they were set forth herein at length.




                                                          88


                                                      88 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 90 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                303.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees owned the premises located at 333 East

             181st Street, County of Bronx, State of New York [hereinafter “the subject premises”].

                304.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees maintained the subject premises.

                305.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees leased the subject premises.

                306.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees managed the subject premises.

                307.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees inspected the subject premises.

                308.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees repaired the subject premises.

                309.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees supervised the subject premises.

                310.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees designed the subject premises.

                311.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees constructed the subject premises.

                312.        That on and before January 9, 2022, Defendant RUBIN SCHRON, their

             agents, servants, contractors and/or employees controlled the subject premises.




                                                        89


                                                     89 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 91 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                 313.        That on and before January 9, 2022, and at all times hereinafter mentioned,

             it was the duty of Defendant, RUBIN SCHRON, their agents, servants, and/or employees

             to keep and maintain the subject premises in a reasonably safe condition.

                 314.        That on January 9, 2022, while Plaintiff was lawfully present at the

             aforementioned subject premises, a major fire ignited and spread rapidly to multiple parts

             of the subject building.

                 315.        Plaintiff was caused to sustain serious and permanent personal injuries as a

             result.

                 316.        That the said occurrence was due solely to the joint and several negligence

             and carelessness of the defendants herein and without the plaintiff contributing thereto.

                 317.        That Defendant, RUBIN SCHRON, their agents, employees and/or servants

             were negligent and careless jointly and/or severally with Co-Defendants, their agents,

             servants and/or employees: in allowing the premises, in its unsafe state, to be

             maintained/inhabited while in violation of the rules and regulations of the State of New

             York and the City of New York; in failing to properly secure the unsafe premises; in failing

             to properly supervise the premises; in failing to adequately fireproof the premises; in failing

             to make sure adequate fire proofing existed, was installed, and in use at the premises; in

             failing to properly inspect the premises; in refusing requests to repair and/or remedy and/or

             restore and/or retrofit and/or fix and/or fireproof the subject premises; in creating a fire

             hazard; in failing to police and/or inspect the premises; in failing to install fire and/or smoke

             and/or carbon monoxide alarms; in failing to install adequate fire and/or smoke and/or

             carbon monoxide alarms; in failing to install sufficient fire and/or smoke and/or carbon

             monoxide alarms; in failing to install properly functioning fire and/or smoke and/or carbon



                                                            90


                                                        90 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                    INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 92 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             monoxide alarms; in failing to properly place fire and/or smoke and/or carbon monoxide

             alarms; in allowing inadequate and/or defective fire, smoke and carbon monoxide alarms;

             in allowing and permitting an inadequate and defective electrical system to be present at

             the premises; in failing to allow for adequate ingress and egress; in approving and/or

             allowing inadequate and unsafe proposals and applications; in failing to secure electricity

             outlets and/or conduits and/or sources; in failing to secure gas outlets and/or conduits

             and/or sources; in negligently maintaining and/or utilizing and/or supplying and/or

             installing electricity at the aforesaid premises; in creating and/or maintaining a structure

             that could not contain and/or handle and/or accommodate and/or properly transfer and/or

             safely transfer the electricity provided; in negligently maintaining and/or utilizing and/or

             supplying and/or installing gas; in negligently maintaining and/or utilizing and/or

             supplying and/or installing oil; in failing in their duty to keep the oil and/or gas burner,

             furnace, boiler, heating system and areas at the premises in a reasonably safe condition; in

             failing in their duty to keep said electric system in a reasonably safe condition; in failing

             to properly inspect; in creating, permitting and/or allowing said oil and/or gas burner,

             boiler, heating system and areas to remain in a darkened, defective, hazardous and/or

             dangerous condition; in failing to erect guards, barriers, fences or to otherwise warn of the

             dangerous conditions existing thereat; in negligently performing maintenance and/or

             repairs of said oil and/or gas burner, boiler and heating system; in performing construction

             and/or repair in a negligent manner; in creating and permitting a trap; in improperly

             designing said oil and/or gas burner, boiler, heating system and areas; in failing to properly

             clear areas of dirt, debris, oil, water and slippery substances; in failing to repair; in failing

             to warn; in failing to properly clean and/or clear said areas; in allowing pits, holes,



                                                            91


                                                        91 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 93 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             depressions, cracks, uneven segments, debris and slippery substances to develop, remain

             and/or exist at said areas and/in in failing to correct same; in failing to replace defective

             and/or broken parts, appurtenances and equipment; in failing to comply with contract

             provisions; in allowing said oil and/or gas burner, burner and heating system to overflow

             and leak; in failing to repair said leaks; in failing to have adequate drainage systems to

             contain and/or otherwise eliminate leaks; in having and/or employing incompetent help; in

             making negligent repairs; in permitting and/or causing a fire; in allowing said fire to

             accelerate; in failing to have proper fire safety protocols; in failing to have firefighting

             equipment and/or adequate sprinkler systems at said premises; in failing to properly hire,

             train and/or supervise its agents, servants and/or employees; in failing to give any warning

             to signal of said dangerous condition; in permitting and allowing said areas to be in a state

             of disrepair; in failing to inspect; in failing to take suitable and proper precautions for the

             safety of persons on and using said premises and steps; in failing to provide a safe

             passageway; in causing, allowing and permitting an obstruction to Plaintiff’s safe passage

             at said locations; in failing to provide adequate and properly functioning self-closing steel

             doors; in failing to provide a sprinkler system; in failing to provide an adequate and

             properly functioning sprinkler system; in failing to provide an adequate heating system; in

             failing to provide an intercom system; in failing to provide sufficient lighting; in failing to

             properly clean and/or maintain and/or repair said construct said oil and/or gas burner,

             boiler, heating system; in failing to use due care and caution under the circumstances; in

             leasing/letting the premises in the aforementioned condition; in allowing individuals to

             inhabit the premises in the aforementioned condition; in allowing individuals to reside at

             the premises in the aforementioned condition; in leasing the aforementioned premises to



                                                           92


                                                       92 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                 INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 94 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             an unsafe number of tenants; in leasing the aforementioned premises to an unsafe number

             of individuals; in allowing an unsafe number of individuals to inhabit the premises; in

             overcrowding the premises; in violating the applicable statutes, rules and ordinances of the

             State of New York, and the City of New York, including but not limited to the New York

             City Fire Code, the New York City Building Code; in failing to take proper and adequate

             measures and precautions to avoid and/or prevent the happening of the occurrence

             complained of; in causing and/or allowing the subject premises to be improperly designed,

             constructed, installed and maintained, and in violation of applicable codes, statutes and

             standards; in failing to post warnings at aforesaid location which was in an unsafe,

             dangerous and hazardous condition; in negligently, carelessly and recklessly hiring,

             supporting, funding and maintaining the operation of said location; in that no other

             warning devices were set up, and/or posted indicating the dangerous condition that existed;

             in failing to reasonably anticipate that persons lawfully inhabiting the subject premises

             could sustain physical injuries by reason of the unsafe, dangerous and hazardous conditions

             that existed; all of which Defendants, had due notice, or by reasonable inspection thereof,

             might and should have had due notice of said conditions causing the injures to the plaintiff;

             in failing to keep the subject premises reasonably safe; in actually creating a dangerous and

             hazardous condition at the subject premises; in negligently hiring, training, supervising,

             and directing their agents, servants, contractors, and/or employees; and in otherwise being

             careless, reckless and negligent. Plaintiff also pleads the Doctrine of Res Ipsa Loquitur.

                318.        That by reason of the negligence and carelessness of Defendant, RUBIN

             SCHRON, Plaintiff HULLAMTOU CEESAY was caused to sustain serious and

             permanent injuries.



                                                          93


                                                      93 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 95 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                319.        That by reason of the foregoing Plaintiff, HULLAMTOU CEESAY, was

             damaged in a sum that exceeds the jurisdictional limits of all lower courts that would

             otherwise have jurisdiction over this matter.

              AS AND FOR PLAINTIFF’S SEVENTEENTH CAUSE OF ACTION AGAINST
                   DEFENDANTS, CODEFENDANTS JOINTLY AND SEVERALLY

                320.        Plaintiff repeats, reiterates and re-alleges each and every allegation

             contained in paragraphs of this complaint designated “1” through “319” inclusive, as fully

             as though they were set forth herein at length.

                321.        At the times herein alleged, Defendants, Co-Defendants jointly and

             severally acted with gross negligence, recklessness, willful conduct, wanton and conscious

             disregard of the rights and safety of the plaintiff, HULLAMTOU CEESAY, and the public.

             By the foregoing Plaintiff, HULLAMTOU CEESAY, requests and is entitled to an award

             of punitive and exemplary damages in the sum of FIVE HUNDRED MILLION

             ($500,000,000.00) DOLLARS.

                    W H E R E F O R E, Plaintiff, HULLAMTOU CEESAY, demands judgment

             against Defendants, BRONX PARK PHASE III PRESERVATION LLC, BRONX PHASE

             III HOUSING COMPANY, INC., NYC PARTNERSHIP HOUSING DEVELOPMENT

             FUND COMPANY, INC., LIHC INVESTMENT GROUP, LIHC ACQUISITION

             COMPANY LLC, LP SOLUTIONS FUND, LLC, BELVERON PARTNERS,

             BELVERON NY PRESERVATION, LLC, CAMBER PROPERTY GROUP, LLC,

             CAMMEBY’S INTERNATIONAL GROUP, CAMMEBY’S CAPITAL GROUP, LLC,

             CAMMEBY’S FUNDING, LLC, SF RECTOR STREET, LLC, RICK GROPPER,

             ANDREW MOELIS, and RUBIN SCHRON, jointly and severally, on each of these causes

             of action in an amount that exceeds the jurisdictional limits of all lower courts that would

                                                         94


                                                      94 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                             INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 96 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




             otherwise have jurisdiction over this matter and for the costs and disbursements of this

             action.


             DATED: Westbury, New York
                    January 12, 2022


                                                               Yours, etc.,
                                                               EDELMAN, KRASIN & JAYE, PLLC
                                                               Attorney for Plaintiff



                                                         BY: __________________________
                                                               PAUL B. EDELMAN., ESQ.
                                                               Address & P.O. Address
                                                               7001 Brush Hollow Road, Suite 100
                                                               Westbury, NY 11590
                                                               (516) 742-9200




                                                       95


                                                    95 of 96
FILED: BRONX COUNTY CLERK 01/12/2022 07:44 PM                                                   INDEX NO. 800555/2022E
NYSCEF DOC. NO. 2Case 1:22-cv-00390-JPC Document 1-1 Filed 01/14/22 Page 97 of 97
                                                                      RECEIVED  NYSCEF: 01/12/2022




                                                   VERIFICATION

                          I, PAUL B. EDELMAN, ESQ., the undersigned, am an attorney admitted to

             practice in the Courts of New York State, and say that:

                          I am the attorney of record, for Plaintiff, HULLAMTOU CEESAY, have read

             the annexed Plaintiff’s SUMMONS AND VERIFIED COMPLAINT, know the contents

             thereof and the same are true to my knowledge, except those matters therein which are

             stated to be alleged on information and belief, and as to those matters I believe them to be

             true. My belief, as to those matters therein not stated upon knowledge, is based upon the

             following:

                          Books, papers, records in possession.

                          I affirm that the following statements are true under penalties of perjury.



                                                             _________________________________
                                                                   PAUL B. EDELMAN, ESQ

             Dated: January 12, 2022
                    Westbury, New York




                                                            96


                                                        96 of 96
